972 F.2d 345
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Raleigh T. WRIGHT, Plaintiff-Appellant,v.Peggy JONES, Defendant-Appellee, andJ. McDade;  Leath Devlin;  J. W. Kirpatrick;  Henry S.Thompson, Defendants.
    No. 92-6629.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 20, 1992Decided:  August 6, 1992
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  W. Earl Britt, District Judge.  (CA-91-523-CRT-BR)
      Raleigh T. Wright, Appellant Pro Se.
      Sylvia Hargett Thibaut, Assistant Attorney General, Raleigh, North Carolina;  Neil Clark Dalton, North Carolina Department of Correction, Raleigh, North Carolina, for Appellee.
      E.D.N.C.
      Affirmed.
      Before MURNAGHAN, HAMILTON, and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Raleigh T. Wright appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Wright v. Jones, No. CA-91-523-CRT-BR (E.D.N.C. Jun 10, 1992).  We deny Wright's motion for appointment of counsel.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    